     Case 8:15-bk-15311-MW Doc 1787 Filed 07/16/21 Entered 07/16/21 09:24:39                                         Desc
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                                           United States Bankruptcy Court
                                             Central District of California
                                    411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593

                          NOTICE OF ORDER CONFIRMING CHAPTER 11 PLAN

    DEBTOR(S) INFORMATION:                                               BANKRUPTCY NO. 8:15−bk−15311−MW
     Freedom Communications, Inc.                                        CHAPTER 11
    SSN: N/A
    EIN: 95−1140750
    aka The Orange County Register, fka Freedom
    Newspapers, Inc.
    c/o GlassRatner
    555 W. 5th Street
    Suite 3725
    Los Angeles, CA 90013


Notice is hereby given of the entry of an order of this Court confirming a chapter 11 plan. You may review the order and the plan
itself at the bankruptcy clerk's office at the address listed above or online at https://pacer.uscourts.gov.




                                                                               For The Court,
Dated: July 16, 2021                                                           Kathleen J. Campbell
                                                                               Clerk of Court




(Form ntc11pln rev. 12/20) VAN−50                                                                                    1787 / JLL
